                                                                                 Case 10-12820-jkf
                                                                     B6D (Official Form 6D) (12/07)
                                                                                                                     Doc 42                            Filed 08/24/10 Entered 08/24/10 13:41:19                                                                       Desc Main
                                                                                                                                                       Document      Page 1 of 1
                                                                     IN RE Brame, James R Sr.                                                                                                                    Case No. 10-12820
                                                                                                                                 Debtor(s)                                                                                                                                     (If known)

                                                                                                 AMENDED SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
                                                                     date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                     the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
                                                                     security interests.
                                                                       List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors
                                                                     will not fit on this page, use the continuation sheet provided.
                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                        Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on the last sheet
                                                                     of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and,
                                                                     if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
                                                                     Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                           HUSBAND, WIFE, JOINT,
                                                                                                                                             OR COMMUNITY




                                                                                                                                                                                                                                   UNLIQUIDATED
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                                                                                                                                                                                                                      CONTINGENT
                                                                                                                                                                                                                                                                AMOUNT OF
                                                                                                                                CODEBTOR




                                                                                                                                                                                                                                                  DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                              DATE CLAIM WAS INCURRED,                                                       CLAIM WITHOUT
                                                                                                                                                                                                                                                                                        UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                    NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                              DEDUCTING
                                                                                                                                                                                                                                                                                      PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                                PROPERTY SUBJECT TO LIEN                                                         VALUE OF
                                                                                                                                                                                                                                                               COLLATERAL




                                                                     ACCOUNT NO. 3001                                                                              Property Taxes (were to be paid by                                                              unknown
                                                                     Buckingham Twp                                                                                GMAC Escrow)
                                                                     Dorothy Campana, Tax Collector
                                                                     PO Box 583
                                                                     Buckingham, PA 18912
                                                                                                                                                                   VALUE $

                                                                     ACCOUNT NO. 1166                                                                              Mortgage On Quarry Road                                                                    1,527,529.83
                                                                     GMAC
                                                                     3451 Hammond Ave
                                                                     Waterloo, IA 50702

                                                                                                                                                                   VALUE $ 2,690,000.00

                                                                     ACCOUNT NO. 6393                                                                              2nd Mortgage Quarry Road                                                                      309,000.00
                                                                     Specialized Loan Servicing
                                                                     8742 Lucent Blvd, Suite 300
                                                                     Highlands Ranch, CO 80129

                                                                                                                                                                   VALUE $ 2,690,000.00

                                                                     ACCOUNT NO.                                                                                   Note and Mortgage dated 9/27/2007                                                               40,000.00
                                                                     Wayne Smith
                                                                     230 S. State Street
                                                                     Newtown, PA 18940

                                                                                                                                                                   VALUE $ 2,690,000.00
                                                                                                                                                                                                                       Subtotal
                                                                            0 continuation sheets attached                                                                                                 (Total of this page) $ 1,876,529.83 $
                                                                                                                                                                                                                          Total
                                                                                                                                                                                                        (Use only on last page) $ 1,876,529.83 $
                                                                                                                                                                                                                                                             (Report also on         (If applicable, report
                                                                                                                                                                                                                                                             Summary of              also on Statistical
                                                                                                                                                                                                                                                             Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                     Liabilities and Related
                                                                                                                                                                                                                                                                                     Data.)
